 

Case 2:21-cv-15844-CCC-JBC Document 1

FINANCIAL SERVICES

@ HALSTED

PO BOX 828 Skokie, IL 60076 aon
Tel: (855) 520-7028 Web: www. halstedfinanc’a .CO!
Hours of Operation (CST): Mon-Fri 7am - 8pm & Sat fam -5pm

   
 

0 Visit us at: oe
; 30 to off _. info.halstedfinancial-com” —

ye ‘ ¥
your balance!

01/18/2021

Dear Fairry Bonner,
Your account has been placed by LVNV Funding LLC with our agency for collections. You do have options!
gest savings we are offering a compromiseé of $1,953.31 to resolve this debt. That's a savings of $937.14!

ea big payment, that's why we also offer simple payment plan
Have questions? Call us at (855) 520-7028.

ind any information obtained will be used for that purpose.
ute the validity of the debt or any portion thereof, this

For the big
5 for as low as $50-$100

We Understand that not everyone Is ready to maki
per month. Check out additional options available to you at

This office is not obligated to renew these offers after 03/03/2021.

This communication Is from a debt collector. This is an attempt to collect a debt a

Unless you notify this office within 30 days after receiving this notice that you disp
office will assume this debt is valid. If you notify this office in writing within 30 days after receiving this notice that you dispute the validity of

this debt or any portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such
judgment or verification. If you request from this office in writing within 30 days after receiving this notice, this office will provide you with

the name and address of the original creditor, If different than the current creditor,

Our Reference Number: ia Original Creditor: Credit One Bank, N.A.
Original Creditor Account Number: XXXXXXKAXKKMS308 Current Creditor To Whom Debt Is Owed:LVNV Funding LLC

Current Creditor Account Number

Total Balance Due: $2,790.45

All payments and correspondence must be mailed to PO BOX 828 Skokie, IL 60076. Please see the following pages for additional not!
t I nal notices

oo — a

PO BOX 702070
PLYMOUTH Ml 48170-0975 Our Reference Number:

ELECTRONIC SERVICE REQUESTED Balance Due: $2,7
: €: $2,790.45
Discount Offer: $1,953.31

MAKE CHECKS PAYABLE AND SEND TO:

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FAIRRY BONNER
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KOKIE IL §0076-0828

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Case 2:21-cv-15844-CCC-JBC Document 1 Filed 08/22/21 Page 2 of 4 PagelD: 2

PRIVACY NOTICE

ompanies (collectively, the “Resurgent Companies”). It

e is being provided on behalf of each of the following related c rape dstomvers:

tic
This Privacy NP | policy of the Resurgent Companies regarding the personal Information of customers and for

describes the genera

Resurgent Capital Services L.P
LVNV Funding, LLC

Ashley Funding Services LLC

Resurgent Acquisitions LLC

PYOD LLC

SFG REO, LLC

Resurgent Receivables LLC

Pinnacle Credit Services, LLC

CACV of Colorado, LLC

Resurgent Funding LLC

Sherman Originator LLC

Anson Street LLC cecal le Sib Lk ean de a Bas
CACH, LLC

Sherman Originator Ill LLC

Sherman Acquisition L.L.C.

Information We May Collect, The Resurgent Companies may collect the following personal information:
(1) information that we receive from your account file at the time we purchase or begin to service your account, such as your name,
gh discussion with you, or that we may obtain

address, social security number, and assets; (2) information that you may give us throu
through your transactions with us, such as your income and payment history; (3) information that we receive from consumer reporting
agencies, such as your creditworthiness and credit history, and (4) information that we obtain from other third party information providers,

such as public records and databases that contain publicly available data about you, such as bankruptcy and mortgage filings. All of the
personal information that we collect is referred to in this notice as “collected information”.

Confidentiality and Security of Collected Information. At the Resurgent Companies, we restrict access to collected information about

you to individuals who need to know such collected information in order to perform certain services in connection with your account. We
maintain physical safeguards (like restricted access), electronic safeguards (like encryption and password protection), and procedural
safeguards (such as authentication procedures) to protect collected information about you.

Sharing Collected Information with Affiliates From time to time, the Resurgent Companies may share collected information about

customers and former customers with each other in connection with administering and collecting accounts to the extent permitted under
the Fair Debt Collection Practices Act or applicable state law.

Sharing Collected Information with Third Parties The Resurgent Companies do not share collected information about customers or

former customers with third parties, except as permitted in connection with administering and collecting accounts under the Fair Debt
Collections Practices Act and applicable state law.

 
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FINANCIAL SERVICES

po BOX 828 Skokie, IL 60076 Lae!
: ; Web: www.halstedfinanclal.co ay
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Hours of Operation (CST): Mon-Fri 7:

 

   

a Gye gua, Vit us ate eho
30% off ‘info.halstedfinanclal:com”

your balance

01/18/2021

 

Dear Fairry Bonner,

Your account has been placed by LVNV Funding LLC with our agency for collections. You do have options!

For the biggest savings we are offering a compromise of $1,953.31 to resolve this debt. That's a savings of $837.14!
We Understand that not everyone Is ready to make a big payment, that's why we also offer simple payment plans for as low as $50-$100

per month. Check out additional options available to you ati

1, Have questions? Call us at (855) 520-7028.

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the name and address of the original creditor, |f different than the current creditor,

Original Creditor: Credit One Bank, N.A.

Our Reference Number: 25451046
Current Creditor To Whom Debt Is Owed:LVNV Funding LLC

Original Creditor Account Number: XXXXXXXXXXXA4 308
Current Creditor Account Number: 696904654
Total Balance Due: $2,790.45

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Salita chine ee :
PO BOX 702070
PLYMOUTH MI 48170-0975
ELECTRONIC SERVICE REQUESTED ; ones $2,790.45
© Due: $2,790.45
Discount Offer: $1,953.31

MAKE CHECKS PAYABLE AND SEND To:

Meath aet iat ta testes

O10B320024012478525007 093:

FAIRRY BONNER 0057 1DdYAGpAZAKOO

7004 KE ll

WEST NEW VOreYD E-APT 30D WN ae gty Mytlytypaypattet
j NJ 07093-5044 HALSTED Hin Wit " eet petty
f PO BOX 828 ANCIAL SERVICES LL
SKOKIE IL 60076-0898 ae
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